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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BISHOY ABO-SAIF,                                       )
                                                       )
                               Plaintiff,              )
                                                       )
       v.                                              )       No. 1:16-cv-2727
                                                       )
THE JOHN MARSHALL LAW SCHOOL,                          )
                                                       )
                               Defendants.             )

                            JOINT STIPULATION OF DISMISSAL

       Plaintiff, Bishoy Abo-Saif, and Defendant, The John Marshall Law School, by and through

their attorneys, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the

dismissal without prejudice of this action, with each party to bear their own costs and fees, and

with such dismissal to automatically convert to a dismissal with prejudice if Plaintiff has not refiled

this action on or before May 14, 2018.

       Respectfully submitted,


 BISHOY ABO-SAIF                                    THE JOHN MARSHALL LAW SCHOOL

  /s/ Giel Stein (w/ permission)                     /s/ Christopher T. Conrad
 One of his attorneys                               One of its attorneys

 Giel Stein                                         Christopher T. Conrad
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                                                    MARSHALL LAW SCHOOL
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                                 CERTIFICATE OF SERVICE

       I, Christopher T. Conrad, an attorney, hereby certify that I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system on October 12, 2017, which will
send electronic notification of such filing to all counsel of record.


                                               /s/ Christopher T. Conrad




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